                                           United States Bankruptcy Court
                                                Eastern District of Wisconsin
           Shirley J. Gates

 In re                                                                                  Case No.    17-27896-BEH
                                                              Debtor(s)                 Chapter     13



                                                   CHAPTER 13 PLAN


                                                          NOTICES

NOTICE TO DEBTORS: This plan is the model plan as it appears in the Appendix to the Local Rules of the
Bankruptcy Court for the Eastern District of Wisconsin on the date this plan is filed. THIS FORM PLAN MAY NOT
BE ALTERED IN ANY WAY OTHER THAN WITH THE SPECIAL PROVISIONS IN SECTION 10.

         A check in this box indicates that the plan contains special provisions set out in Section 10 below.

NOTICE TO CREDITORS: YOUR RIGHTS WILL BE AFFECTED BY THIS PLAN. You should read this Plan carefully
and discuss it with your attorney. If you oppose any provision of this plan you must file a written objection. The time to file
an objection will be in a separate notice. Confirmation of this Plan by the Court may modify your rights. You may receive
less than the full amount of your claim and/or a lesser interest rate on your claim.

You must file a proof of claim in order to be paid under this Plan. Payments distributed by the Trustee are
subject to the availability of funds.

                                                         THE PLAN

Debtor or Debtors (hereinafter "Debtor") propose this Chapter 13 Plan:

1. Submission of Income.
   Debtor's annual income is above the median for the State of Wisconsin.
   Debtor's annual income is below the median for the State of Wisconsin.

          (A). Debtor submits all or such portion of future earnings or other future income to the Chapter 13 Trustee
          (hereinafter "Trustee") as is necessary for the execution of this Plan.

          (B).   Tax Refunds (Check One):

             Debtor is required to turn over to the Trustee 50% of all net federal and state income tax refunds received
          during the term of the plan.
             Debtor will retain any net federal and state tax refunds received during the term of the plan.

2.      Plan Payments and Length of Plan. Debtor shall pay the total amount of $255,995.00 by paying $4,250.00 per
(check one)    month        week     every two weeks      semi-monthly to Trustee by       Periodic Payroll Deduction(s)
from (check one)      Debtor     Joint Debtor or by      Direct Payment(s) for the period of 60 months. The duration of the
plan may be less if all allowed claims in every class, other than long-term claims, are paid in full.
   If checked, plan payment adjusts as indicated in the special provisions located at Section 10 below.




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3. Claims Generally. The amounts listed for claims in this Plan are based upon Debtor's best estimate and
belief. Creditors may file a proof of claim in a different amount. Objections to claims may be filed before or after
confirmation.
         The following applies in this Plan:
         CHECK A BOX FOR EACH CATEGORY TO INDICATE WHETHER THE PLAN OR THE PROOF OF CLAIM
         CONTROLS:
                                                                   Plan Controls             Proof of Claim Controls
         A.            Amount of Debt
         B.            Amount of Arrearage
         C.            Replacement Value - Collateral
         D.            Interest Rate - Secured Claims
         FAILURE TO CHECK A BOX UNDER A CATEGORY IN THIS SECTION WILL MEAN THAT A PROPERLY
         FILED PROOF OF CLAIM WILL CONTROL FOR THE CORRESPONDING SUB-PARAGRAPH OF THE PLAN.

4. Administrative Claims. Trustee will pay in full allowed administrative claims and expenses pursuant to 507(a)(2) as
set forth below, unless the holder of such claim or expense has agreed to a different treatment of its claim.

         (A). Trustee's Fees. Trustee shall receive a fee for each disbursement, the percentage of which is fixed by the
         United States Trustee, not to exceed 10% of funds received for distribution.


         (B). Debtor's Attorney's Fees. The total attorney fee as of the date of filing the petition is $ 3,500.00.The
         amount of $ 2,500.00 was paid prior to the filing of the case. The balance of $ 1,000.00 will be paid through the
         plan. Pursuant to 507(a)(2) and 1326(b)(1), any tax refund submission received by the trustee will first be used to
         pay any balance of Debtor's Attorney's Fees.
                                                  Total Administrative Claims: $ 13,190.00


5. Priority Claims.

         (A).   Domestic Support Obligations (DSO).

                    If checked, Debtor does not have any anticipated DSO arrearage claims or DSO arrearage claims
                assigned, owed or recoverable by a governmental unit.

                    If checked, Debtor has anticipated DSO arrearage claims or DSO arrearage claims assigned, owed or
                recoverable by a governmental unit. Unless otherwise specified in this Plan, priority claims under 11 U.S.C.
                507(a)(1) will be paid in full pursuant to 11 U.S.C. 1322(a)(2). A DSO assigned to a governmental unit
                might not be paid in full. 11 U.S.C. 507(a)(1)(B) and 1322(a)(2).
(a) DSO Creditor Name and Address          (b) Estimated Arrearage Claim            (c) Total Paid Through Plan
                                           $                                        $
                                           $                                        $
                                           $                                        $
                                           $                                        $
                                           $                                        $
                                           $                                        $
                                           $                                        $
                                           $                                        $
Totals                                     $                                        $




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          (B).   Other Priority Claims (e.g., tax claims). These priority claims will be paid in full through the plan.
(a) Creditor                                                      (b) Estimated claim
                                                                  $
                                                                  $
                                                                  $
                                                                  $
                                                                  $
                                                                  $
                                                                  $
                                                                  $
                                                                  $
                                                                  $
Totals:                                                           $

          Total Priority Claims to be paid through plan:      $ 0.00
6. Secured Claims. The holder of a secured claim shall retain the lien securing such claim until the earlier of the
payment of the underlying debt determined under non-bankruptcy law or discharge under Section 1328. The
value, as of the effective date of the plan, of property to be distributed under the plan on account of such claim is
not less than the allowed amount of the claim.

          (A).   Claims Secured by Personal Property.

                     If checked, The Debtor does not have claims secured by personal property which debtor intends to
                 retain. Skip to 6(B).

                     If checked, The Debtor has claims secured by personal property which debtor intends to retain.

                 (i). Adequate protection payments. Creditor must file a proof of claim to receive adequate protection
                 payments. Upon confirmation the treatment of secured claims will be governed by Paragraph (ii) below.
                 The Trustee shall make the following monthly adequate protection payments to creditors pursuant to
                 1326(a)(1)(C):
                                                                                        (c) Monthly Adequate protection
(a) Creditor                                 (b) Collateral
                                                                                        payment amount
Toyota Financial Services                    2005 Lexus SC430                           $ 75.00
                                                                                        $
                                                                                        $
                                                                                        $
                                                                                        $
                                                                                        $
                                                                                        $
                                                                                        $
                                                                                        $
                                                                                        $
                                             Total monthly adequate
                                                                                        $ 75.00
                                             protection payments:

                 (ii). Post confirmation payments. Post-confirmation payments to creditors holding claims secured by
                 personal property shall be paid as set forth in subparagraphs (a) and (b).

                     (a). Secured Claims - Full Payment of Debt Required.

                         If checked, the Debtor has no secured claims which require full payment of the underlying debt.
                     Skip to (b).

                         If checked, the Debtor has secured claims which require full payment of the underlying debt.
                     Claims listed in this subsection consist of debts (1) secured by a purchase money security interest in a
                     vehicle; (2) which debt was incurred within 910 days of filing the bankruptcy petition; and (3) which
                                                                 3
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                     vehicle is for the personal use of the debtor; OR, if the collateral for the debt is any other thing of value,
                     the debt was incurred within 1 year of filing. See 1325(a)(5). After confirmation the Trustee will pay the
                     monthly payment in column (f).

                                                    (c)                      (e)                                   (g) Estimated
                                                                 (d) Claim                 (f) Estimated
(a) Creditor         (b) Collateral                 Purchase                 Interest                              Total Paid
                                                                 Amount                    Monthly Payment
                                                    Date                     Rate                                  Through Plan
                                                                 $                   %     $                       $
                                                                 $                   %     $                       $
                                                                 $                   %     $                       $
                                                                 $                   %     $                       $
                                                                 $                   %     $                       $
                                                                 $                   %     $                       $
                                                                 $                   %     $                       $
                                                                 $                   %     $                       $
                                                                 $                   %     $                       $
                                                                 $                   %     $                       $
TOTALS                              ---                    ---   $               ---                 ---           $

                     (b). Secured Claims - Replacement Value.

                            If checked, the Debtor has no secured claims which may be reduced to replacement value. Skip to
                     (B).

                        If checked, the Debtor has secured claims which may be reduced to replacement value. The
                     amount of the debt or the replacement value assigned to the property is in column (d).
                                                                                                                           (g)
                                                                 (d)                                 (f)Estimated          Estimated
                                              (c) Purchase                         (e) Interest
(a) Creditor           (b) Collateral                            Replacement                         Monthly Payment       Total Paid
                                              Date                                 Rate
                                                                 Value/Debt                                                Through
                                                                                                                           Plan
                                                                                                     $      See Section
Toyota Financial       2005 Lexus                                $                                                         $
                                              09/2007                              5.0 %             10. Special
Services               SC430                                     17,500.00                                                 19,800.00
                                                                                                     Provisions
                                                                 $                         %         $                     $
                                                                 $                         %         $                     $
                                                                 $                         %         $                     $
                                                                 $                         %         $                     $
                                                                 $                         %         $                     $
                                                                 $                         %         $                     $
                                                                 $                         %         $                     $
                                                                 $                         %         $                     $
                                                                 $                         %         $                     $
                                                                 $                                                         $
TOTALS                            ---                ---                                   ---               ---
                                                                 17,500.00                                                 19,800.00

       (B).    Claims Secured by Real Property Which Debtor Intends to Retain.

               (i)       If checked, the Debtor does not have any claims secured by real property that Debtor intends to
                     retain. Skip to (C).

                         If checked, the Debtor has claims secured by Real Property that debtor intends to retain. Debtor will
                     make all post-petition mortgage payments directly to each mortgage creditor as those payments
                     ordinarily come due. These regular monthly mortgage payments, which may be adjusted up or down as
                     provided for under the loan documents, are due beginning the first due date after the case is filed and
                     continuing each month thereafter, unless this Plan provides otherwise.
(a) Creditor                                  (b) Property description

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(a) Creditor                                  (b) Property description




               (ii)

                          If checked, the Debtor has an arrearage claim secured by Real Property that the Debtor will cure
                      through the Plan. Trustee may pay each allowed arrearage claim the estimated monthly payment
                      indicated in column (d) until paid in full.
                                                                                                              (e) Estimated
                                                                  (c) Estimated       (d) Estimated Monthly
(a) Creditor                   (b) Property                                                                   Total Paid
                                                                  Arrearage Claim     Payment
                                                                                                              Through Plan
                                                                                                              $     See
                               Real Estate located at :           $    See Section
Carrington Mortgage                                                                   $    See Section 10.    Section 10.
                               5653 West Jalrno Lane              10. Special
Services, LLC                                                                         Special Provisions      Special
                               Brown Deer, Wisconsin 53223        Provisions
                                                                                                              Provisions
                                                                                                              $     See
                               Real Estate located at :           $    See Section
Green Tree Servicing                                                                  $    See Section 10.    Section 10.
                               600 West Dossville Road            10. Special
LLC                                                                                   Special Provisions      Special
                               Carthage, MS 39051                 Provisions
                                                                                                              Provisions
                                                                                                              $     See
Bobby Kendrick dba             Real Estate located at :           $    See Section
                                                                                      $    See Section 10.    Section 10.
Kendrick's Prefab              600 West Dossville Road            10. Special
                                                                                      Special Provisions      Special
Welding                        Carthage, MS 39051                 Provisions
                                                                                                              Provisions
                                                                                                              $     See
                        Real Estate located at :                  $    See Section
JM Remodelin and Martin                                                               $    See Section 10.    Section 10.
                        5653 West Jalrno Lane                     10. Special
J. Keely                                                                              Special Provisions      Special
                        Brown Deer, Wisconsin 53223               Provisions
                                                                                                              Provisions
                                                                  $                   $                       $
                                                                  $                   $                       $
                                                                  $                   $                       $
                                                                  $                   $                       $
                                                                  $                   $                       $
                                                                  $                   $                       $
                                                                                                              $     See
                                                                  $    See Section
                                                                                                              Section 10.
TOTALS                                         ---                10. Special                    ---
                                                                                                              Special
                                                                  Provisions
                                                                                                              Provisions

Total Secured Claims to Be Paid Through the Plan: $                   240,540.00
       (C). Surrender of Collateral. This Plan shall serve as notice to creditor(s) of Debtor's intent to surrender the
       following collateral. Any secured claim filed by a secured lien holder whose collateral is surrendered at or before
       confirmation will have their secured claim treated as satisfied in full by the surrender of the collateral.
(a) Creditor                                                      (b) Collateral to be surrendered
Burial Plot                                                       Wisconsin Memorial Park, Inc.




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(a) Creditor                                                         (b) Collateral to be surrendered




7. Unsecured Claims.

        (A). Debtor estimates that the total of general unsecured debt not separately classified in paragraph (b) below is
$ 192,242.13. After all other classes have been paid, Trustee will pay to the creditors with allowed general unsecured
claims a pro rata share of not less than $ 2,265.00 or 1 %, whichever is greater.

        (B).   Special classes of unsecured claims:


                 Total Unsecured Claims to Be Paid Through the Plan:                $        2,265.00
8.      Executory Contracts and Unexpired Leases.

                    If checked, the Debtor does not have any executory contracts and/or unexpired leases.

                    If checked, the Debtor has executory contracts and/or unexpired leases. The following executory
               contracts and unexpired leases are assumed, and payments due after filing of the case will be paid directly
               by Debtor. Debtor proposes to cure any default by paying the arrearage on the assumed leases or contracts
               in the amounts projected in column (d) at the same time that payments are made to secured creditors after
               confirmation.
                                  (b) Nature of lease or             (c) Estimated arrearage           (d) Estimated monthly
(a) Creditor
                                  executory contract                 claim                             payment
                                                                     $                                 $
                                                                     $                                 $
                                                                     $                                 $
                                                                     $                                 $
                                                                     $                                 $
                                                                     $                                 $
                                                                     $                                 $
                                                                     $                                 $
                                                                     $                                 $
                                                                     $                                 $
                                                                     Totals:$                                       ---

All other executory contracts and unexpired leases are rejected upon confirmation of the plan.

9.      Property of the Estate. Property of the estate shall revest in Debtor (Check one):
               Upon Confirmation; or
               Upon Discharge

10. Special Provisions. Notwithstanding anything to the contrary set forth above, the Plan shall include the provisions
set forth below. The provisions will not be effective unless there is a check in the notice box preceding Paragraph
1 of this plan.

 1. With regard to the promissory note and security agreement belonging to U.S. BANK, N.A. AS TRUSTEE FOR
MANUFACTURED HOUSING CONTRACT SENIOR/SUBORDINATE PASS-THROUGH CERTFICATE TRUST 2000-4 (“U.S.
Bank”), which encumbers a 1999 Franklin Homes Inc. manufactured home, serial number ALFRA40810627AB.owned by the debtor
and located at 600 West Dossville Road, Carthage, MS 39051, the Debtor is amending the plan to pay the secured portion of the
note to $20,000.00. The debtor will pay this secured amount in full over the life of the plan at the rate of 5.0% simple interest for a
final payout of $22,620.00. With regard to the portion owed on the note over and above $20,000.00, it will be treated as an allowed
unsecured non-priority claim.

2. With regard to the mortgage belonging to Carrington Mortgage Services, LLC secured by non-homestead property located at
                                                                    6
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5653 West Joleno Lane, Milwaukee, Wisconsin 53223-1627, since the value of the property, which is $175,000.00, is far less than
the amount owed on the aforementioned mortgage, which is $325,000.00, the Debtor will bring an adversary proceeding to eliminate,
under Sections 11 U.S.C. 506(a), 1322 (b)(2) and 1325(a)(5)(B)(ii) the portion of the Mortgage's lien above $175,000.00. The debtor
will pay this amount in full over the life of the plan at the rate of 5.00% simple interest for a final payout of $198,120.00. With regard
to the portion owed on the note over and above $175,000.00, it will be treated as an allowed unsecured non-priority claim.

3. Debtor will strip off the wholly unsecured Junior Lien with Bobby Kendrick d/b/a Kendrick's Prefab Welding on the property located
at 600 West Dossville Road, Carthage, MS 39051 pursuant to 11 U.S.C. Section 1322 (b)(2).

4. Debtor will strip off the wholly unsecured Junior Mortgage Lien with Household Finance Corporation III and Construction Liens
with JM Remodeling and Martin J. Keely on the real estate located at 5653 West Jaleno Lane, Brown Deer, Wisconsin 53223
pursuant to 11 U.S.C. Section 1322 (b)(2).

5. Any plan provision included in this special provisions section which conflicts in any way with any provision contained in
paragraphs numbered 1-9, 11, and/or 12 shall expand, overrule or supersede the provision provided in paragraphs numbered 1-9,
11, and/or 12.

As used herein, the term “Debtor” shall include both debtors in a joint case.

Trustee shall receive a fee for each disbursement, the percentage of which is fixed by the United Stated Trustee, not to exceed 10%
of funds received for distribution.

Attorney’s fees are to be paid at the rate of all available funds at confirmation. After confirmation, Attorney’s fees shall be paid at one-
half of available funds (less trustee fees) each month. If all secured claims have been paid in full, Attorney’s are to receive all
available funds (less trustee fees) each month until paid in full.

Allowed Secured Creditors will receive post confirmation payments at the rate of one-half of all available funds (less trustee fees)
each month until all administrative claims are paid in full and then will receive all available funds (less trustee fees) until they are paid
in full.

If Attorney’s fees and allowed Secured Creditors are paid in full, Priority Creditors shall receive all available funds (less trustee fees)
each month until paid in full. Pursuant to 507(a)(2) and 1326(b)(1), any tax refund submission received by the trustee will first be
used to pay any balance of Debtor’s Attorney’s Fees.

The debtor hereby rejects any and all contracts with any creditors, including, but not limited to, any arbitration clauses contained
therein, other than contracts or leases secured solely by real property or any creditors whose contract or lease is specifically marked
as assumed in Schedule G.

Secured Claims which do not become due in full within the term of the Plan and are only secured by a security interest solely in real
property that is the debtor’s principle residence shall be paid according to the amount claimed on the creditors proof of claim (unless
objected to and an amount is set by the court) rather than the amount proposed in the plan. The interest rates on the arrearages
shall be the rates provided by this plan.

Allowed claims against the Debtor shall be paid in accordance with the provisions of the Bankruptcy Code and this plan.

Property of the Estate shall revest in the debtor upon discharge, dismissal or other Order of the Court. During the pendency of the
plan confirmed herein, all property of the estate, as defined in § 1306(a) of Title 11 of the United States Code, shall remain under the
exclusive jurisdiction of the court.

For claims subject to paragraph 6(A)(ii)(b): Secured Claims Subject to Valuation Under § 506. The debtor moves the Court to value
collateral as provided in that section according to 11 U.S.C. § 506(a). Each of the secured claims in this section, if allowed, shall be
paid through the plan in pro rata monthly payments, until the secured value or the amount of the claim, whichever is less, plus simple
interest in the amount listed in paragraph 6(a)(ii)(b) has been paid in full. Any remaining portion of the allowed claim shall be treated
as a general unsecured claim. Any claim with a secured value of $0 shall be treated as a general unsecured claim.

For claims subject to paragraph 6(A)(ii)(a): Secured Claims Not Subject to Valuation Under § 506. Each of the claims provided for in
that paragraph shall be paid in pro rata payments the principle balance listed in the creditors proof of claim plus interest in the
amount listed in paragraph 6(A)(ii)(a).

         Pre-Confirmation Adequate Protection Payments. Pre-Confirmation adequate protection payments shall be paid by the
Trustee through the plan to the Creditors, who hold allowed claims secured by a purchase money security interest in personal
property, as indicated in paragraph 6(A)(i). The principle amount of the Creditor’s claim shall be reduced by the amount of the
adequate protection payments remitted.




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11. Direct Payment by Debtor. Secured creditors and lessors to be paid directly by the Debtor may continue to mail to
Debtor the customary monthly notices or coupons or statements notwithstanding the automatic stay.

12. Modification. Debtor may file a pre-confirmation modification of this plan that is not materially adverse to creditors
without providing notice to creditors if the Debtor certifies that said modification is not materially adverse to said creditors.



Date    8/31/2017                                   Signature        Shirley Gates

                                                                Debtor(s)
Attorney    Paul A. Strouse

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                                     nd
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